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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELISABETH HELLER,                       )
                                        )
       Plaintiff,                       )
                                        )
       v.                               ) Civil Action No.: 16-2302 (TNM)
                                        )
SCOTT PRUITT, Administrator,            )
U.S. ENVIRONMENTAL PROTECTION           )
AGENCY,                                )
                                        )
       Defendant.                      )
______________________________________ )

                                     [PROPOSED] ORDER

        Upon consideration of Defendant’s Motion in Limine, that motion is hereby GRANTED.

It is hereby ORDERED that:

       Plaintiff shall not introduce evidence or testimony regarding Peter Jutro or the EPA OGC

        attorney referenced in Defendant’s Motion.

       Plaintiff’s altercation with Steven Williams may be discussed as background to the EEO

        claim underlying her retaliation claims, but she shall not attempt to challenge the DoD

        OIG’s analysis or conclusions regarding that altercation, which are not at issue here.

       Plaintiff shall not introduce evidence or argument regarding John Reeder’s knowledge of

        complaints brought by other women against the EPA, nor shall Plaintiff inquire into

        Reeder’s subjective views regarding the desirability of settling Heller’s EEO case and his

        opinion of the specific terms of the settlement.

       Plaintiff has failed to administratively exhaust any claim that Allan Williams’s advice

        regarding Heller’s possible Giglio impairment itself constituted a retaliatory act



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      independent from the oral counseling and documenting memo to the file, and accordingly

      argument purporting to state any such claim is barred.

SO ORDERED.



_________________________                          ______________________________
Date                                               Trevor N. McFadden
                                                   United States District Judge




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